  Case 2:15-cv-00010-DSF-JPR Document 1-1 Filed 01/02/15 Page 1 of 12 Page ID #:4




NOÏCErcDEFENDAT{T:
          "*"YlH,?lP'
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                                                                                                                               Étrt¡P/na u9oo8u cqfrÐ



 6vSaÂLDEtttANDADo)t 'ffiffiþ-t
 MIDI"AIID CREDIT IIÍANAGEMENT, INC.
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YOUAREBEINOSUEDEYPIåINIIFF¡                                                  ;I


 iloncE¡      You hsvo   beø   q¡€{t. Tlto cputt nBy d9ddâ ag¡lt8l lE[¡ r{ühcJt ,o{,r boúrg hootrl   rffi8r     yûr¡   fæ¡f,id wËlh 30 dsyo, Rs8ú l}E hfbmaüoÙ|            ì


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     Case 2:15-cv-00010-DSF-JPR Document 1-1 Filed 01/02/15 Page 2 of 12 Page ID #:5



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     I   Todd M. Frlcdm¡a (¿167 52)                                                 *"urygi'g*
         Surcn N. lVeerrsurtm (278521)
 2
         AdrI¡¡ R. B¡con (280332)
 3       Lsw OñcË of Todd M. Friedmanr P.C,
         324 S,BeverlyDr.,Fl2í
 4       Ber'erþEfllt' CA9t2l2
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         Pbone gn-20Ê4741
         Fa¡¡ 866{33-ltrl2E
 6       tfrieilman@ttorzoysforeonstt ñ ero.ooD
         sweemsurlya@attoneyoforeonsümensßoD
 7       abrcon@attoneyrforc onsilÍ et& com
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         Attomeys for Pl¡intlfi

 I                         SI'PERIOR COT'RT OFTSE STATE OF CATIrORNIA
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                                  FOR TEE CT}UNTY OT'LOS AÌ{GELES
                                            LrutrnDil,Rr¡Drsrr"in
t¡                                                                              K   14 L[5
12                                                       )   CasoNo.
                                                         )
t3       KIMBERTY                                        )   CoMPLAINT FOR VIOLAÎION                              ì'
                                                         )   oTRoSENTEAL TAIRDEBT
¡4
         Plai¡tifi,                                      )   CoLLECilIONPRASnCESACTA¡il)
l5                                                       )   TEDERAL F4rR rIEBT C'Ot¿EgrION
                  vs,                                    )   PRACTTCESACT
tó                                                       )
l7
         MIDLAND CREIIIT I}ÍâNAGEMENI,                   )   (Anou¡t rot b      s¡ceod $10,000)
         INC"                                            )
t8                                                       )       l.   Violatiou of Rosenth¿l Fed€cat
         Dçfeod¡nt                                       )            FairDebtColleodonPn¡dcosAct
t9                                                       )       2,   Violatio¡ofFai¡DebtCollçstion
20
                                                         )            kactíces Act

2t

n                                             t   II{T.R,ODUC-TION

                  1. This fu an action for dnnÊgæ bought by a lndividtul coûruner for Dsf€,ndaüt's
23

u        vÍolations of the Ros€othal Fair Debt Collection Pncüces Apq Cal Civ Code $1788, et seq.

2'       (bereinaftec 'RFDCPA') a¡d the Faír D€bt Collegtion Pnsticæ Asq lS U.S.C. $1692, et seq.
26
         (h€6etnafrer   "FDCPAI, botb of     whle;h pr,ohibit debt collestors   ñon   etgngíng    in   abusive,
n
         deoeptive, and unfrir practices.
2t




                                                    Oonplah- |
     Case 2:15-cv-00010-DSF-JPR Document 1-1 Filed 01/02/15 Page 3 of 12 Page ID #:6




 ¡                                              IT   PARTIES
 2
              2.      Ptainütr,   Kinbuly Snith C"I-AIN'ilFF"), is a natr¡al    person residing   in   I¡s
 3
     Angelæ Cormty in the stats of California, md is ¿ "co¡sunef'as defned by the FDCPA'                15
 I
     U.S.C. $16924(3) and is a'ldebtor" æ defi¡red by Cal Civ Codo $1788.2(h).
 ,
 6            3.      At all ¡eler¡ant times hereþ DEFENDAI,IT, Midland CHit lvfaoagement Inc.
 7
     CDEFENDAI.IÏ'), was a company ergage,ù by rse ofthe mails and telephone, in the business
 I                                                         *debÇ' ¡s defiûed by
     of collecting a dçbt ñon PL,AINTIFF which gualiûæ æ a                      15 U,S.C.
 9
     $16928(5), and a "consuner debÇ" æ defi¡ed by Cal Civ Code $1788¿(f). DEFENDAI.TT
r0
                                                                                       *dÊbt
     regularly attempts to collçqt debt¡ alleged to be dræ anotber, and th€refor€ Is a       collectort
t¡
t2   as   defi¡ed by the FDCPÀ 15 U.S.C. $t692a(O, a¡d RFDCP¡{" Cal Civ Cods $1788.4c).
t3                                     III TA TUAL ALLECAITONS
t4
              4,      At va¡ior¡s timæ prior to tbe filing of tbe instart complainf including within one
¡5
     year preoeding ttre   filing of tbis complain¡, DBFENDAI.IT contarted PL{INTIITF in an atæmpt
t6

17   to collest atr alleged outstandíng debt

IE            j,      On or aborn April of 2014, PtÂint¡tr begû¡ rcceiving ntuerous caUs Êom
t9
     Defe¡dant. Defeodut called with sr¡cü ûegrnucy as to eonsdtüe hsassne'nt under the
n
     circunstarc€s'
zl
t¿
              6,      Defe¡dart routinely e¿tlçd from telephone mmbçr (877)4ll-5551' to Plaintitrs

23   telepboae rn¡mber ending in -0608.

?A            7.      As a¡ í|ft¡sùative ørample, Deeodant coutacted or dempted      b   conbot Plaintitr

xt
     at the foüowigg times¡       l) April   3,2014 d 9:31 s.E. a¡d 1228 p.m.; 2) Apdl 5,2014 8t l:16
7ß
     pe; 3) Aprit 6, 2Ol4 ú*46           a.n.;4) April 7,2014 ut 10:37 a"m.   a¡¡d 833   p.n; Ð Apnl E,
n
z8
     2014at ll:01 a'm"




                                                      Compls¡¡t- 2
      Case 2:15-cv-00010-DSF-JPR Document 1-1 Filed 01/02/15 Page 4 of 12 Page ID #:7




 I               E.         Ðefeodmt contacted Plaintitrregsrding a debt owed in 2009, which Plaintifr
 2
       paíd in   fi¡lt     Plainüff is l¡formed and thereon believæ that Pla¡trdtr owed no Eore mouÊy to
 3
       Defendant Defendant is tying to collect a debt ñom Plaintitrthst PlEirtiffdocs not owe.
 4

 5
                 9.         On Atrgrut      ll,   2014, Plaintifs cor¡¡sel      søt a nodce of represeutrtioo   to

 6     Ddeodanr Ðefendant has failed to reqpond to that requ€st at this time.
 7               10.        DEFEI,IDAI.¡T'S condr¡ot violated thÊ RFDCPA ¡nd FDCPA in multÍplc ways,                 I




 t                                                                                                                   lì
       i¡sluding but not limited to:                                                                                 iì

 I
                      a)    Falæly representing tbe characta, anou¡t or legal statr¡s of
t0                          Plai¡t'lf s .lebt ($ t0g2{2XA));
l¡
                            Using frlse rvp'rcseuations üd deceptive practicer in sounection
t2
            ¡!
                            with collection of an alleged dÊbt ûom Plaindfr($ 1692e(10));
l3

t{                    c)    Connr¡ntcdíng          or
                                                  threateoing               b
                                                                   communicate credit
                            inforn¡tion uùich is knoyvo or wbiob should be knonn to be
r5
                            falæ($ l6ne(8));
¡6

t'l                   d) Engagíng       in   condræt the ¡atr¡ral conseque,nce      of whic'h is to
                            hffi$,   opprç$e, or abuse P¡8bt¡tr($1692d);
IE

t9                    e) Carsing     Plaintifs tolephone to ring repætedly or coutinuorsly
                            wíth in¡eutto harass' Ðnoy or abuse PlaÍndf ($1692d(5));
m

zt                          Causiag a telephonc to      ring repeatcdly or contin¡¡ol¡sly to annoy
z2                          PIE¡rdtr (Cal Civ Cods $1788'1      1   (d);

23
                      s) Conrnuntcatin& by ætephone or in person, witb PlairtÍfr witb
a                        suc,b freguenoy æ to be rupason¡ble and to co¡gdu¡te an
                         brassoent to Pt¿intitr under tbe ciffimstûno€s (Cal Civ Codo
?5
                            $1788.1 1(e))
ú
n                     h) Conrnrrnicaing with Plaiadf at ti¡nes or places which wcrç
                         k¡owu o¡ should bsve beeo l¡own to bc inconvenicnt for
2t                       Plaindtr ($l 692c(aX l));




                                                           Conplol¡t-   3
     Case 2:15-cv-00010-DSF-JPR Document 1-1 Filed 01/02/15 Page 5 of 12 Page ID #:8




 t                  Ð    Using unfair or unconscionable meæs agaínst Plaitrütr itr
                         connectio¡ ïdth a¡ atreopt to couest a debt ($ 1692Ð);
 2

 3
                    j)   Cotlecting aû amou¡t       ûon Plaintif that is not      €lç¡€ssly
 4                       autborized by the agrecoeot cresting the debt ($ 1692f(1)); a¡¡d

 5
                    k) Collesting a¡r amolmt ûom Plsintif tbat Ís not prmitted      by law
 6                       ($   l6e2{lÐ.
 7
              ll.        As a ¡wr¡lt of tbe above viol¡tions of tbe FDCPA        aDd   RÍDCP.\ PlsiDtifi
 E
      $lrered and oontinuæ ûo suffer rqir¡ry to PLAINTIItr'S feoli¡gt,              personal brulllation,
 I
      embsrsssüel¡t, mental Ðgrdsh and e¡notion¿l dÍsüess, and DEFENDAI'IT                     is lÍable to
l0

¡¡    PLAINTIFF for PLAINTIFF'S actual            ata¡nages, statutory dam¡ges' and costs and attorney's

lz    ftes.
r3
                                   COIJNT I: VIQLATION OF ROSENITAL
t4                               FAIR, DEBrr COLLECTIgN PRACIICES ACr

t5
              lZ;,,      pLAINTIFF reincorporaúes by reføeoce all of the preceding puag¡apls.
l6
              13.        To the artÊßt tbd DEFENDAIiIT'S astio¡s, cor¡uæd above, violated tbo
t7
      RFDCPA, thoæ ast¡ons wcre do¿e knowinely and willñtlly
¡8

¡9
                                             PRAYER FORRELIEF

20            TyHEREFORq PLAINTIFF rcspccfully prays                  üst   judgment be eiilered against

2t
      DEFENDA¡{T for the following:
n
                         ,4,.    Actt¡al damages;
zt                       B.      Støhrorydamagas   forwillfr¡ludnegligentvioldions;
                         C,      Costs and ¡easonable üomey's fees,
21
                         D,      For zuoh othr 8¡d fi¡¡ther rclíef as ney bojt¡st anlproper.
tt
26                                  COI,I{T II: l4O.LAflOIf OF      FA,ß}EFt
                                         CoLLECTTO. N PRôCTTCES         ACr
n
2ß            14,        PLAINTIFF reíncorporatesby refe,ænce all of the precedngparsgapl¡s.




                                                      Conplaht-4
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                                 PRAYER TIOR REIJEF

      WHEREFORE, PL¡INTIFF tïspestû¡lly FrBys thst judgnceot be entored agÊinst

DEFE IDA¡{T fo¡ the following:

             A,     Astr¡sl das¡¡gæ;
             B.     Staüûory dan¡ges;
             C.     Costs and ææonnble attorney'e fees; md,
             D.     For sucb other and fi¡rtber ¡plief æ may be just and proper.




             Respectfrrtly subûnitt€d this 17ú day   of

                                                                Esq.
                                                          of Todd M. Friednr¡n, P.C.
                                           Attomey for Plaintiff




                                         Cospla¡ot- 5
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       nneErâffiEEe I l          l N. Hill st
       u¡¡Jr{¡rsßÊot                                                               ogt 20          2014




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   l--l       rrunu.nr¡ *oEg         (r9)                  EJ     oruætssl                              E     cnn**nÉhl          û¡ol æeofied       ùúr¡] l12l
                                                           Judblål Roïbu
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 Dao¡ October 17\2014
 Todd M. Fdedmsn

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                      lr¡þ¡¡cüæ          ?,
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 t**           Ktberly       Smllh v: Mldlsnd orsdlt Managemenl lne


                                             CIVIL CASE COVER 9HEET ADDENDUM AND
                                     STATEIIENTOF LOCATTON
                (cERTtFlcATE OF GROUNDS FOR ASSIGNMENT TO GOURTHOUSE LOCATION)

         Thls þrm la nqulred pursuant          b l¡cal   Ruls Z0 tn atl new clvll ca¡e frltngs h the Loe Angdæ Supe¡lor Gourl

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  Item ll. lndcats ôê coÍ€d dlsfid and couürouss locaüon (4 ateps                         ]f


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      Step I : Afier lrst complsüng ü¡e CM Caae Cwú Sheet turm, Írd tre maln CMI Ceea Cow Striet hsaO¡ng
      ,as" ln th, lefi magln ¡bor,in¿, þ üre dsht ln Column A, üre CM Caæ CorÆr Sheetæe type you sele#ü                                                                l_.1


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      Stop 3: ln Oolumn G,         cûcto h9 reasonôrthe cor¡il locaüon.oholco that appllos to the type
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      Step 4: Fl[       ln üra lnltnnaüon requesÞd ön pege4 Fr          lþm   lll   complsle ltem        lV'    Slgn   he dedgrâüon'


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     Dsted: October 17,?ß14




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